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UNITED STATES DISTRICT COURT for the
EASTERN DISTRICT OF MICHIGAN
----------------------------------------------------------------x
                                                                :
 WILLIAM HUSEL                                                  :
                                                                :
                                        Plaintiff,              :   CASE NO. ___________
                                                                :
                        – against –                             :
                                                                :   Second COMPLAINT
                                                                :
 TRINITY HEALTH CORPORATION                                     :   Jury Demanded
                                                                :
                                        Defendant.              :
                                                                :
----------------------------------------------------------------x



         Plaintiff Dr. William Husel (“Husel”), by his undersigned counsel, allege as

follows against defendant Trinity Health Corporation (“Trinity”):

                              NATURE OF THE ACTION1

         1.    This action is brought by doctor who—prior to his termination,

villainization in the press, arrest, indictment on 25 counts of murder, and eventual

full acquittal—was a dedicated intensivist who worked an overnight shift in the

ICU of Mount Carmel West Hospital (“MC West”) for five years.




1
  The allegations of this Second Complaint are identical in substance to the original Complaint,
with the exception of paragraphs 228-235, which are new allegations that address the issues
raised in the Court’s March 28, 2024, opinion dismissing the complaint without prejudice. They
are entirely identical to the March 29, 2024 Amended Complaint which the Court struck on
administrative grounds on April 17, 2024.

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      2.     MC West was a Trinity-owned hospital in a poor area of Columbus

Ohio. The ICU there saw some of the sickest patients in Columbus, and regularly

treated patients who had overdosed on illicit narcotics (among many other patient

populations with high mortality risk).

      3.     From time to time during those years, the MC West ICUs would

admit a patient who was simply too sick to survive, and in some cases, the families

of those patients would request that life support be withdrawn so that the patient

and their loved ones could avoid needless suffering.

      4.     This was by no means a daily event, but it was common enough, and

it was something the ICU staff trained for, and had clear policies for. Those

policies were designed to ensure that each patient received the best possible care in

the last minutes of their lives.

      5.     Until late November 2018, the ICU MC West was an outstanding unit

that served several underprivileged communities in western Columbus. Dr. Husel

and the ICU staff were proud to be a part of it.

      6.     But in December 2018, everything began to change rapidly, for the

worse. Acting on orders from Trinity, its Michigan-based corporate parent

organization, Mount Carmel fired Dr. Husel, placed 13 nurses and 7 others on

leave, and drastically changed its ICU policies from patient-centered policies that




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left appropriate discretion to its trusted physicians, to new hard-rules that

endangered patients, and delayed urgent care.

      7.     Following a cursory investigation conducted by MC West, MC West

informed Trinity that it had discovered that over the course of many years, Dr.

Husel had been using levels of opioid medications and benzodiazepines to treat

patients that were in the process of imminently dying (following the withdrawal of

life support) that were substantially higher than his peers’ practices.

      8.     These actions did not violate any policies of the hospital or of Trinity,

nor did they violate any nationally-accepted standards for the use of opioid

medications for treating pain associated with the dying process in patients.

      9.     The MC West investigation uncovered no indication whatsoever that

Dr. Husel intended to hasten death or do anything other than make the dying

process easier for his patients.

      10.    In a meeting with Dr. Husel, the MC West Vice President of Medical

affairs spoke to Dr. Husel about joining a committee to develop standards and best

practices around these very-end-of-life issues.

      11.    MC West also informed Trinity that Dr. Husel’s practices had gone

unnoticed (regales of their appropriateness) for years because of lax enforcement

of policies relating to controlled substances and because of poor record keeping




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regarding the management of controlled substances, most notably the highly

stigmatized opioid fentanyl.

      12.      Many doctors choose hydromorphone as the opioid of choice to treat

pain in palliative and actively dying patients because of the societal stigma

associated with fentanyl. However, Dr. Husel utilized it because if his familiarity

with the medication which he developed while working as an resident in

anesthesiology (an area of medicine where the use of fentanyl is very common).

      13.      Over the weekend following MC West’s report, Trinity’s Chief

Medical Officer Daniel Roth (a former general medicine practitioner with no

experience in critical care) and other senior executives decided it was best for

Trinity to portray Dr. Husel’s care as a series of tragic crimes, as opposed to

compassionate care that violated no policies but exposed systematic weaknesses.

      14.      Roth and other senior executives made the decision to falsely portray

what had occurred as something sinister.

      15.      In the following days:

            a. Trinity directed that Dr, Husel be terminated;

            b. Trinity directed that MC West meet with the Franklin County

               Prosecutor and report a belief that the dosages were intended to hasten

               death notwithstanding the fact that they know this not to be

               substantiated as every witness they interviewed explained the intent


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               was not to hasten death but to provide appropriate end-of-life care;

               and

            c. Trinity hired a crisis communications firm to develop a media and

               community outreach plan that would focus all negative attention of

               Husel and the ICU staff, and set up an escalating timeline of planed

               disclosures designed specifically to encourage prosecution, convince

               the public that Husel had committed crimes and convince the press

               that the story was about a rouge doctor and that Mount Carmel and

               Trinity were reacting as good corporate citizens.

      16.      After making the initial report to the prosecutor, Trinity caused MC

West to engage in a communication blitz by:

            a. Telling the families of dozens of patients that their loved once had

               been overdosed by Dr. Husel (“likely hastening death”) and inviting

               them to engage counsel;

            b. Telling the press a false and misleading story that Husel had given

               “potentially fatal” doses of medication to patients;

            c. Later, telling the press a false and misleading story that some of Dr.

               Husel’s patients might have survived;

            d. Repeatedly advertising their cooperation with criminal authorities,

               intentionally raising the pressure on prosecutors to such an extent that


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               the office issued a rare public statement regarding ongoing

               investigation urging the public to be calm.

      17.      The Franklin County Prosecutor’s office empaneled a grand jury and

presented misleading testimony from Trinity representatives, who intentionally left

out material information about what occurred to convince the jury that the dosages

were so high that the only explanation was that Dr. Husel had intentionally hasted

their death.

      18.      The Franklin County Prosecutor’s office admittedly relied on Trinity,

and specifically on Dr. Dan Roth, in making its determination that Dr. Husel

dosing decision were an intentional criminal act as opposed to well-intentioned

care and relied on Trinity in presenting this theory to the grand jury.

      19.      Indeed, during Dr. Husel’s criminal trial for which he was ultimately

acquitted on all counts, the lead investigator repeatedly testified that he was not an

expert and relied on Trinity for his information regarding appropriate dosing of

medication at end-of-life, as well as any inferences to make based upon the

dosages.

      20.      In June 2019, Dr. Husel was indicted on 25 counts of intentional

murder.




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      21.      In January 2022, the prosecution voluntarily dismissed 11 of the

counts (those the involved patients who received the lowest dosages of opioid pain

medication).

      22.      On April 20, 2022, Dr. Husel was acquitted of the remaining 14

counts.

      23.      Everyone in Columbus relied on Trinity (and Mount Carmel action at

Trinity’s direction) to answer the question of whether anything Dr. Husel and his

team did was wrong. In December 2018, Trinity set a course of events into action

that would have devastating consequences for Dr. Husel, the ICU staff and a

horrible chilling effect of end-of-life pain management. The responsible

individuals at Trinity had no basis to tell the prosecutor and the public that Dr.

Husel had caused anyone any harm, much less that he had intentionally done so.

They could have corrected the misstatements at any time before the indictment, or

even after his acquittal, but they did not.

      24.      Rather, Trinity kept doubling down by encouraging the prosecutor to

pursue the case and making disclosures to the public that Trinity had “learned” of

new instances where Dr. Husel had been the cause of tragedy, including one that

inexplicably indicated that five of the patients could have been saved.

      25.      When the indictment was finally issued, Trinity promptly issued a

final press release, fired dozen of individuals and declared that a new and


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promising chapter in the story of Mount Carmel was beginning. Its goal had been

achieved.

                                     PARTIES

      26.    Dr. William Husel is a resident of the state of Ohio. At all relevant

times he was a board-certified anesthesiologist with additional credentials in

critical care who worked as an intensivist in the ICU at MC West – a Trinity

hospital.

      27.     Trinity Health Corporation is a national Catholic health system based

in Michigan with 92 hospitals and 109 continuing care facilities, home care

agencies, and outpatient centers in 22 states. Trinity is an Indiana for-profit

corporation, headquartered in Livonia, Michigan.

      28.    Many of the facts set forth herein are the subject of two other

proceedings in Ohio, both of which relate to the defendant’s public statements and

allege defamation and were commenced in December 2019, 30 months before Dr.

Husel’s acquittal and the accrual of the sole claim at issue here. Discovery in those

actions is largely complete, and any material from them that is relied on here has

already been placed in the public record and is not subject to any operative sealing

order. (Ex. 1 – Trinity/Mount Carmel withdrawal of request to seal).

      29.    This public record was relied on in a partially dispositive decision that

remanded one of the matters to the Franklin Court of Common Pleas and dismissed


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a claim under the Lanham Act brought by certain of Dr. Husel’s colleagues. As a

result, all materials are part of the public record, notwithstanding any indications to

the contrary.

                            JURISDICTION AND VENUE

      30.       This Court has personal jurisdiction over Trinity because it is

headquartered in this district.

      31.       This Court has subject matter jurisdiction under 28 U.S.C. § 1332

because plaintiff is a citizen of Ohio and defendant is a citizen of the states of

Indiana and Michigan.

      32.       Venue is proper under 28 U.S.C. § 1391(b)(1) because the defendant

is headquartered in this district.

                               STATEMENT OF FACTS

Dr. William Husel and the Care He Provided in the Mount Carmel West ICU

      33.       Dr. William Husel attended medical school at Ohio University

College of Osteopathic Medicine, graduating in 2008. Following medical school,

he completed a residency in anesthesiology at Cleveland Clinic in 2012. After that,

Dr. Husel completed a fellowship in intensive care, also at Cleveland Clinic, in

2013. (October 2, 2022 Declaration of William Husel (“WH Dec.”) ¶ 2, Ex. 2).

      34.       In 2014, Dr. Husel accepted a position as an intensivist (a physician

for an intensive care unit (an “ICU”)) at Mount Carmel West Hospital in



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Columbus, Ohio. It was a learn-on-the job position. (WH Dec. ¶ 3, Ex. 2). There

were no formal medical trainings with respect to practice in the ICU, and because

Dr. Husel was assigned exclusively to the night shift, he was always the only

physician in the ICU. (4-20-22 Deposition of Dr. David Ralston (“Ralston Dep.”)

93:3-17; 2-22-21; Deposition of Beth Macioce-Quinn (“Macioce-Quinn Dep.”)

64:1-65:20; WH Dec. ¶ 3, (Ex. 2, Ex. 3, Ex. 4)).

      35.    During his tenure in the ICU, Dr. Husel was well regarded by his

peers, and, prior to October 24, 2018 (after five years in the ICU), nobody had ever

raised a concern regarding the care that he provided (other than issues that Dr.

Husel’s colleagues brought to his attention, which Dr. Husel would substantively

discuss and address and resolve to everyone’s satisfaction) (7-22-22 Deposition of

Dr. Daniel Roth (“Roth Dep.”) 112:23-113:14, 152:8-153-3; Macioce-Quinn Dep.

64:1-65:20; Ralston Dep. 21:12-22 (Ex. 5, Ex. 4, Ex. 3)).

      36.    Indeed, Dr. Husel was presented a hospital-wide award (based on

voting by the staff) as physician of the year in 2015 and he was nominated again in

2018. (Roth Dep. 113:4-10 (Ex. 5)).

      37.    In the ICU, Dr. Husel and his colleagues cared for countless patients,

and the care they provided was often the turning point that brought them from

critically ill to being on the road to recovery, or at least stabilization. Occasionally,

there would be a patient that was too ill to recover and could not survive without


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aggressive and continuous life-supporting mechanical interventions, such as

artificial breathing support (a ventilator), kidney dialysis, and supplemental

oxygen; and constant intravenous medicine such as vasopressors (to maintain

blood pressure/cardiac function), antibiotics (to combat sepsis), and sodium

bicarbonate solution (to correct for acidosis).

      38.    In some of those cases, the patients’ or their families’ previously

documented wishes, would instruct the medical staff to withdraw all life-

supportive care and allow the patient to expire naturally (a “terminal withdrawal”

also known as a “compassionate withdrawal”). Once such a decision is made, the

sole goal of the medical staff (physician and nurses) is to provide comfort care

(while also taking care not to harm the patient). (Ralston Dep. 62:21-63:4 (Ex. 3)).

      39.    While it is not possible to predict how long a patient will survive after

withdrawal, a range of 0 to 60 minutes is common. (Ralston Dep., 44:23-47:5 (Ex.

6, Ex. 3)). The goal of the ICU physician is to make those minutes as pain free as

possible. That can be the difference between a good death and a bad one. As a

former ICU nurse explained:

      35
       8…I knew
       9· ·what it was like to see a bad death and to see a good
      10· ·death, and they did too….
      []
      152
      24…But sometimes, many times, I’ve seen in my
      25· ·clinical practice, that when we take away the pain and

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      153
       1…the patient is no longer tight with stress and their
      ·2· ·body actually relaxes from the release of pain they can
      ·3· ·live longer.
      ·4· · · · · · ·And in many cases, it’s not just about the
      ·5· ·additional minutes, but when their face is no longer
      ·6· ·contorted in pain, when they’re not making a fist
      ·7· ·because they’re in pain, when that pain is eased, they
      ·8· ·can actually reach out and hold their loved ones’ hands
      ·9· ·or open their eyes and make an emotional connection with
      10· ·through their eyes with their loved one.
      11· · · · · · ·And I’ve seen that at the bedside.· I’ve seen
      12· ·where once the pain leaves they can make those last
      13· ·moments into a good memory with their loved one and you
      14· ·can watch the loved one carry that with them out of the
      15· ·unit.· It changes the grief that we see.

(2-9-21 Deposition of Rebecca McNeil (“McNeil Dep.”) (Ex. 7)).

      40.    Withdrawal, by definition, is an extreme shock to the body. The loss

of vasopressors (which leave the system within a minute) could lead to a blood

pressure drop of 50% or more, causing symptoms similar to that of a heart attack.

The loss of ventilator support will lead to air hunger (the feeling the body

experiences when it cannot breathe), which results in an experience that is akin to

drowning or suffocating.

      41.    Narcotic medications, and fentanyl in particular, are good at treating

(and preventing) the suffocation-like sensation that dying patients will experience

as a result of failing lungs as well as the general pain that actively-dying patients

experience. Other medications, namely benzodiazepines, can lessen the acute stress

experienced by patients who are cognizant of the process, and lessen the body’s

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fight-or-flight reaction for those with diminished awareness. (Declaration of Dr.

John B. Downs, M.D. (“Downs Dec.”) ¶¶ 7-8 (Ex. 8)).

      42.    During his time at Mount Carmel West, Dr. Husel performed multiple

terminal withdrawals of care. He observed both good and bad deaths. In some early

instances during his tenure, the pain medication he ordered at the outset of the

procedure was insufficient to control the patients’ pain. (WH Dec. ¶ 5 (Ex. 2)). For

example, one of Dr. Husel’s patients continued to experience pain until the patient

received over 2000 mcg of Fentanyl, after which she lived for another several days.

      43.    In connection with the withdrawal of life support in a dying patient,

pain is easier to prevent than it is to treat. Given the potentially short time that a

patient may live after extubation, if the patient begins to experience pain they

might expire before any additional medication—administered after pain is

observed—can take effect. (Downs Dec. ¶ 5 (Ex. 8)).

      44.    Given Dr. Husel’s past experiences caring for critically ill patients in

the ICU while they were in the process of dying, he knew that patients in this

condition have an increased drive to breathe, and that abrupt changes in their

physiological conditions would occur when life support is removed. (WH Dec. ¶ 6

(Ex. 2)).

      45.    As a result of these experiences, Dr. Husel became resolved to always

provide comfort and prevent his patients from suffering during their deaths. All of


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Dr. Husel’s patients were unique. For some, he ordered 200 micrograms of

fentanyl, and for some he ordered 1000 mcg. In one case, where the family

specifically spoke about the patient’s fear of suffocation (Macioce-Quinn Dep.

23:23-26:10 9 (Ex. 4)), Dr. Husel ordered 2000 micrograms.

      46.    Based on his past experiences using fentanyl in the operating room,

knowing that it is hemodynamically stable even in the presence of other

medications, as well as his past experiences caring for critically ill patients in the

ICU throughout the dying process, Dr. Husel used his fourteen years of education,

training, and practice, to determine the dosage amount based on the presentation of

each individual patient. (WH Dec. ¶ 6 (Ex. 2)).

      47.    This approach guided Dr. Husel’s dosing decisions. Everything he did

was open and recorded. Exigencies occasionally led nurses to bypass real-time

pharmacy review with certain patients, but everything was always recorded and

immediately available for retrospective review should any concern or question be

raised.

      48.    Nobody associated with Mount Carmel or Trinity ever said a word to

Dr. Husel to question his approach until November 26, 2018, several days after

what would be his final day as a practicing doctor. (WH Dec. ¶ 7 (Ex. 2)).

The Hospital Policies and National Standards That Governed ICU-Setting
Terminal Withdrawal of Care in Actively Dying Patients During the Relevant
Period


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      49.    During Dr. Husel’s tenure at Mount Carmel West, there were no

policies in place regarding dosing guidelines for the use of opioids and

benzodiazepines in connection with terminal withdrawals in the ICU setting. The

only hospital policy on the matter stated that pain medications were to be given “as

medically indicated,” a phrase that vested discretion in the physician. The policy

provided no guidance whatsoever on starting doses, maximum doses, or timing of

administration. ((2014 Palliative Ventilator Withdrawal Policy), (2017 Palliative

Ventilator Withdrawal Policy) Ex. 9, Ex. 10).

      50.    Moreover, Dr. David Ralston, the Medical Director of the Mount

Carmel West ICU during Dr. Husel’s tenure testified that he never

“formally…actually look[ed] at” these policies and that he never spoke to residents

about them, but rather just taught them what his personal approach to terminal

extubation was. (Ralston Dep. 76:12-78:17 (Ex. 3)). During Husel’s tenure, there

was no standard order set for terminal withdrawals, nor policies that set standards

on which medications to use or appropriate dosages. (Ralston Dep. 33:11-18; Roth

Dep. 109:23-110:19 (Ex. 3, Ex. 5)).

      51.    Moreover, it was unquestioned that in connection with a terminal

withdrawal, there was never a defined maximum dose of fentanyl or any other

opioid medication. This was confirmed by Dr. Ralston (Ralston Dep. 33:19-22 (Ex.




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3)) and Dr. Daniel Roth (the Chief Medical Officer of the entire Trinity system)

(Roth Dep. 146:6-147:8 (Ex. 5)).

      52.    The reason there was no maximum dose of fentanyl is obvious, to

instate a maximum dose would not account for differences in patient physiology

and medical presentation and could result in patient suffering if doctors were

prohibited from prescribing as much as the individual patient needed.

      53.    While there were recommended dosage levels for fentanyl use in other

settings (such as for analgesia in patients who are not in the process of dying, or in

procedural settings (i.e., in connection with surgery)), none addressed the unique

circumstances and very different medical considerations of a terminal withdrawal.

      54.    Indeed, CDC guidelines on the use of opioids in a medical setting not

only reject “inflexible standards”, but also exclude palliative and end-of-life care

from its dosing recommendations entirely. In fact, in a 2022 restatement of its

guidelines the CDC highlighted that applying its prescribing guidelines to

palliative care patents was improper. (November 2022 CDC Clinical Practice

Guidelines for Prescribing Opioids for Pain (Ex. 11)).

      55.    This includes the Mount Carmel’s “IV Guidelines”—a guideline and

not a policy (which Dr. Ralston testified that even he did not use (Ralston Dep.

89:21-90:12 (Ex. 3))). Moreover, the hospital’s Medical Administration Policy

(which was a nursing policy) indicated that the IV Guidelines themselves need not


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be followed in circumstances such as terminal withdrawals, where the patient is

obese and where the patient has a documented opioid tolerance. (Ex. 12)). The

policy of excluding terminal withdrawals and other palliative care from the

guidelines was consistent with CDC then-extent (and current) CDC policy.

      56.    All of the 25 events at issue in this action involved terminal

withdrawals, some of which were performed on obese patients, some of which

were performed on patients that had a documented opioid tolerance, and some of

which were performed on obese patients who also had a documented opioid

tolerance. (Downs Dec. ¶ 10 (Ex. 8)).

      57.    Moreover, the fact that there is no medically determined maximum

dose of opioids in connection with terminal withdrawal is well-documented in

medical literature.

      58.    As such, between 2014 and 2018, there were no Mount Carmel

policies nor any medical standards or literature that would suggest that anything

was improper about the approach that Dr. Husel took with those end-of-life

patients for whom comfort was the only remaining consideration. Any dosing

limitations for this patient population would be contrary to medical principles and

CDC guidance.

In the Fall of 2018, Pharmacists Raise a Concern About Fentanyl Dosing and
Potential “Diversion” (i.e., Theft) of Medication, the Hospital Fails to Follow its
Own Policies and Never Informs Dr. Husel


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      59.    The events that led to this action commenced on October 24, 2018. On

that date, Dr. Husel ordered a 1000 microgram bolus dose (an IV dose given all at

once) of fentanyl in connection with a terminal withdraw. The order was verified

by a pharmacist, Gregory Dresback. Later that night, another pharmacist, Taylon

Schroyer, raised a concern about the dosage with his supervisor, Randy Miles. (5-

20-22 Deposition of Randy Miles (“Miles Dep.”) 55:12-56:5 (Ex. 13)).

      60.    Notwithstanding the concern, none of the three pharmacists

mentioned this concern to Dr. Husel. In his deposition, Mr. Miles testified that he

did not feel that there was a requirement to speak with Dr. Husel, stating that under

his understanding of the applicable policy for addressing and escalating concerns

((Ex. 14) “VOICE Incident or Occurrence Reporting Policy” (the “VOICE Report

Policy”)), there was no indication at that time of whether an “incident or

occurrence” had occurred and the issue was being “investigated.” (Miles Dep.

73:17-74:11 (Ex. 13)).

      61.    Similarly, Dr. Swanner testified that he chose not to mention the issue

with Dr. Husel because he had not yet determined whether there was even any risk

of harm. (Swanner Dep. 35:22-36:4 (Ex. 15)).

      62.    In depositions in a factually related action brought by ICU staff, none

of Trinity-aligned witnesses could provide a substantive answer as to why nobody

spoke to Dr. Husel about their concerns until after he was placed on leave.


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         63.   The VOICE Report Policy was clear that when any concern is raised

about a physician’s care of a patient, that physician must be informed “before the

end of the shift.” Under the policy, an “incident” included “any event…that is

inconsistent with normal operations… [as well as events with a] potential for

injury.” (Ex. 14).

         64.   Yet “concerns” regarding Dr. Husel’s care were discussed among

three pharmacists, one administrator, and at least three physicians (over the course

of 28 days during which three events occurred) before the November 21, 2018

meeting that led to Dr. Husel being placed on leave. Dr. Husel was finally spoken

to on November 26.

         65.   Moreover, though the VOICE Report Policy clearly defined the

process to be taken in documenting and managing concerns, that process was

entirely ignored. Shroyer did not file a VOICE report that night, and neither did

Miles.

         66.   Rather, Randy Miles spoke with Kathryn Barga about the issue. Ms.

Barga was not a physician, but rather a patient safety and risk officer. (5-19-22

Deposition of Kathryn Barga (“Barga Dep.”) 114:15-21 (Ex. 16)). Ms. Barga then

reviewed the medical record to see what the dosages at issue were. She did not

immediately enter a VOICE report either.




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       67.   Rather, she sought guidance from Dr. Larry Swanner, the Vice

President of Medical Affairs for Mount Carmel West. Dr. Swanner advised that the

best course of action was to have Dr. Husel’s care considered as part of a “peer

review.” (Barga Dep. 140:15-141:10 (Ex. 16)).

       68.   Only after Dr. Swanner advised that the issue be sent to peer review

did Ms. Barga enter the VOICE report. In doing so, Ms. Barga elected a severity

level of “4” which indicated that no harm had come to the patient, but that an event

that risked harm had occurred, and the patient had been monitored and treated to

preclude harm. (Barga Dep. 101:6-22 (EX. 16) Barga VOICE Report (Ex. 17)).

       69.   However, the next regularly scheduled meeting of the Peer Review

Committee was canceled. (Swanner Dep. 36:5-37:12 (Ex. 15)). Between October

25 and November 19, 2018, nothing further happened and Dr. Husel was never

informed of anyone having any concern whatsoever with his medical practices.

After a Second VOICE Report, Dr. Larry Swanner Reviews Medical Records,
Rules Out Diversion, and Holds a Meeting with Hospital Leadership

       70.   On November 19, 2018, another pharmacist raised a concern to Randy

Miles by email following another patient who received 1000 mcg of fentanyl after

the family decided to remove their loved one from life support. Miles copied the

relevant portion of the email and pasted it into a message to Kathryn Barga. (Ex.

18).




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      71.    While the pharmacist stated a concern regarding the “large dosage”

(mistakenly thinking the patient had reported her own pain score), the report also

stated concerns that “one nurse removed the meds from the Pyxis and a different

nurse then administered them 30 minutes later…” continuing, “I do not want to

make assumptions or accusations regarding what might be going on in the ICU, but

it is worth noting that some of the same names are routinely involved when these

circumstances occur.” (Id.).

      72.    Miles explained in his deposition that these statements both reflected a

concern about diversion (i.e., theft of medication), as opposed to dosage. (Miles

Dep. 82:15-85:17 (Ex. 13)).

      73.    After this second report, Barga and Swanner spoke again, and Dr.

Swanner decided to “start [his] own investigation.” (Swanner Dep. 36:5-37:12 (Ex.

15)). Though Dr. Swanner did speak to other physicians about the dosages, he

again decided not to make any direct inquiry to Dr. Husel to ascertain why Husel

had chosen the dosage he ordered. (Swanner Dep. 37:17-38:15 (Ex. 15)).

      74.    Documents suggest that Barga spoke with the President of Mount

Carmel West, Sean McKibben, and Chief Nursing Officer, Dina Bush, on

November 19. (Barga Dep. 159:15-160:10 (Ex. 16)). Barga could not recall the

conversation, but Sean McKibben did. (7-14-22 Deposition of Sean McKibben

(“McKibben Dep.”) 14:17-17:22 (Ex. 19)).


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        75.     Dr. Swanner’s investigation entailed reviewing the patient’s medical

records to ascertain whether the medications were, in fact, administered (ruling out

diversion) and then speaking about the medications and dosage with two

physicians: Dr. Gina Moody (a critical care physician) and Dr. Phillip Santa-Emma

(a palliative care physician).2

        76.     In speaking to Dr. Moody, Dr. Swanner learned that:

        40
        […]
        ·7· ·Q.· · · · ·Okay.· So do you recall what did Dr. Moody
        ·8· ·say?
        ·9· ·A.· · · · ·She told me that she was not aware of any
        10· ·new protocols that would advocate the utilization of
        11· ·these doses of fentanyl in particular, but of any
        12· ·drug like this during terminal extubation, she
        13· ·typically does not use these levels or these doses
        14· ·except in extenuating circumstances.
        15· · · · · · · She indicated that there may rarely be
        16· ·patients that have developed such a tolerance to
        17· ·narcotics that they require this high of a dose, but
        18· ·usually you start low and have to work up to that
        19· ·dose to achieve the desired result.· You don’t start
        20· ·at that high a dose.
        21· · · · · · · And she could remember using doses that
        22· ·high once every few years. And she had told me that
        23· ·she can’t imagine that there would be three patients
        24· ·in the course of one month, essentially, that would
        25· ·require doses this high, especially to start with.



2
  The administration of pain medication in connection with terminal withdrawal is different in a
critical care (ICU) setting than it is in a palliative care setting. In a palliative care unit, patients
are often expected to survive longer, and pain medication must be managed based on a timeline
that is substantially longer than the 0-60 minutes rule of thumb that applies in a critical care
setting, where patients may already be in respiratory or cardiac failure. (Downs Dec. ¶ 4 (Ex. 8)).

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(Swanner Dep. 40:7-25 (Ex. 15)).

      77.    As such, Dr. Moody did not rule out the possibility that Dr. Husel’s

dosages could be appropriate in cases where the patients’ charts showed an

indication of high opioid tolerance.

      78.    Dr. Swanner did not tell Dr. Moody any details regarding the patients,

including any indications of opioid tolerance (Swanner Dep. 42:18-43:9 (Ex. 15)),

even though the medical records of each of the three patients did show signs of

tolerance. (Downs Dec. ¶¶ 21, 22, 24 (Ex. 8)).

      79.    By the time Dr. Swanner spoke to Dr. Moody, it was November 21

and a third formal concern had been raised by the pharmacy concerning Dr.

Husel’s practices. (Swanner Dep. 42:18-43:9 (Ex. 15)).

      80.    The report related to the patient that received 2000 micrograms of

fentanyl, after her family had told the ICU staff that their mother’s greatest fear

was suffocation.

      81.    The patient in question’s medical records showed that she had been

taking 50 mg twice a day of morphine as pain management in the preceding

months, indicating a potentially profound tolerance. (Downs Dec. ¶ 24 (Ex. 8)).

50mg of morphine is the equivalent of 500 micrograms of fentanyl. Therefore,

when the dose was determined for this patient, it was informed, in part, by the fact

that medical records indicating that the patient was already receiving the equivalent


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of 1000 micrograms of fentanyl on a daily basis, and discussions with family in

which they requested Dr. Husel ensure that the patient did not feel as though she

was suffocating during the dying process.

Dr. Husel Is Temporarily Taken off the Schedule, and Meets with Hospital Medical
Leadership to Discuss His Practices and the Lack of Hospital Policies

      82.    On the morning of November 21, after the third VOICE report, Barga

forwarded an email from Miles to McKibben (Ex. 20) which led to a meeting of

hospital leadership. (McKibben Dep. 19:20-21:3 (Ex. 19)).

      83.    At that meeting, the group decided that Dr. Swanner should speak to

Dr. Husel about his practices after the Thanksgiving Holiday, and that Dr. Husel

should skip his shift over that weekend and stay off the schedule until the issues

had been addressed. (McKibben Dep. 26:16-27:17 (Ex. 19)).

      84.    After the meeting, Dr. Swanner reached out to Dr. Husel to tell him

not to report for work, but to come in for a meeting the following Monday.

(Swanner Dep. 51:16-52:15 (Ex. 15)). On Monday, November 26, 2018, Dr.

Swanner, Dr. Ralston, and Dr. Husel met. Dr. Swanner prepared a written note of

the meeting shortly after it concluded. (Ex. 21).

      85.    At the meeting, Dr. Swanner and Dr. Ralston discussed their concerns

about Dr. Husel’s dosing practices. (Swanner Dep. 52:19-53:6 (Ex. 15)). In the

conversation:




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         a. Dr. Husel explained that he understood that the doses of certain

            medications were not typical of other critical care doctors and that he

            used them, and was comfortable with them, based on his training in

            anesthesia, but that he understood why questions could be raised.

            (Swanner Dep. 54:4-13 Ex. 15));

         b. Dr. Husel explained that he had experiences earlier in his career where

            patients were given lower doses that had been ineffective and led to an

            emotionally and physically traumatic event for the patient and the

            family and that Dr. Husel “didn’t want that to ever happen to any

            patient. So, he [was] giving higher doses of medications to ensure that

            [it] would never occur.” (Swanner Dep. 54:21-55:14 (Ex. 15));

         c. Dr. Husel explained that he had done his own research on end-of life

            extubation and that he believed there was academic/research support

            for the higher doses he used. (McKibben Dep. 38:13-39:4 (Ex. 19));

         d. In response to questions about the possibility of hastening death, Dr.

            Husel responded that he “never wanted to do harm [and] only wanted

            to provide comfort.” (Swanner Dep. 55:15-56:8; Ralston Dep. 98:7-

            20; 7-11-22 Deposition of Edward Lamb (“Lamb. Dep.”) 62:9-15 (Ex.

            15, Ex. 3, Ex. 22));




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            e. When Dr. Ralston suggested that it might be beneficial for Mount

               Carmel to “have more standardization” in terms of medications and

               dosing in connection with terminal withdrawals, they discussed Dr.

               Husel working with Dr. Santa-Emma to develop a policy. (Swanner

               Dep. 56:10-57:14 (Ex. 15));

            f. Dr. Husel made clear that he never intended his practices to be

               disruptive or cause concerns, and that he would change his approach

               to be more in line with what other physicians did under similar

               circumstances. (Ralston Dep. 99:12-21 (Ex. 4)).

      86.      After the meeting, Dr. Swanner told Dr. Husel that everything would

be “OK” and that Dr. Husel could expect to be back at work “soon.” (Husel Dec. ¶

13 (Ex. 2)).

      87.      Over the next few days, there were several meetings held at Mount

Carmel. (Ex. 23 (“Incident Timeline”)). A meeting of Mount Carmel Leadership

was held on November 29, 2018, where Dr. Swanner recounted Dr. Husel’s

explanation of his approach. (Swanner notes; McKibben Dep. 42:17-46:19 (Ex. 24,

Ex. 19)).

      88.      In that time, Mount Carmel had also run a series of reports with

different parameters to review the patients that had undergone terminal

withdrawals under Dr. Husel’s care. (Parameter Based Internal Reports (Ex. 25)).


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One of the reports that looked at patients who received 500 or more micrograms of

fentanyl but excluded any patients that survived for longer than 400 minutes (6 2/3

hour), identified 24 patients.

Trinity Heath Informed and Immediately Commissions Cursory Review of
Medications (Not Care) by Highly Respected Anesthesiologist

      89.    The following day, Friday November 30, 2018, Edward Lamb

contacted Dr. Daniel Roth, the Chief Medical Officer of Defendant Trinity Health

Corporation to inform Roth of the issues Mount Carmel had been addressing. (Ex.

25 at TMCN0110821).

      90.    Once Trinity became involved, the tenor of the situation changed

drastically and rapidly.

      91.    Later that day, Dr. Roth reached out to the Chief Clinical Officer for

Trinity Health, Michigan, Dr. Rosalie Tocco-Bradley, and asked her to review five

cases specifically for an opinion of how the medications might have affected a

generic patient, and not to review whether the doses were warranted under any

patient specific circumstances. (Tocco-Bradley Dep. 71:4-72:22 (Ex. 26)).

      92.    Dr. Tocco-Bradley was given a spreadsheet with selected, limited data

and not given access to the patients’ medical records, nor was she given an

opportunity to speak to the clinicians involved, nor was she told what the results of

her analysis would be used for. (Tocco-Bradley Dep. 74:7-17, 76:8-77:4, 78:11-25

(Ex. 26)).

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      93.   On the following Monday, December 3, 2018, Dr. Tocco-Bradley

submitted her report. (Ex. 27). In her deposition, Dr. Tocco-Bradley made clear

that her opinions in her December 3, 2018 report were only an evaluation of the

medications used based on her experience, and were not a review of the

circumstances under which they were used, nor of the reason they were used.

      94.   Her two-page report determined that the dosages could be fatal, but in

her deposition, she cautioned that “there’s various physiologic responses based on

a patient’s preexisting condition, including opioid dependency or tolerance or other

substance use, so that’s why there is some variability.” (Tocco-Bradley Dep.

81:18-82:3 (Ex. 26)).

      95.   Dr. Tocco-Bradley made clear that her review was “very limited” and

that she “was rendering an opinion on doses of medications and physiologic

effects, not on the condition of the patient.” (Tocco-Bradley Dep. 85:20-86:8). Dr.

Tocco-Bradley was not informed of the reports set forth in Ex. 25 which showed

numerous patients who received between 500 and 2000 mcg of fentanyl and

survived for longer than 400 minutes.

Trinity Health Executives Take Unequivocal Control of Mount Carmel’s Response:
Directs Mount Carmel to Meet with Prosecutor and Hires a Public Relations
Firm; Dr. Husel Fired Without Further Review – Defendant’ PR/HR Response
Given Moniker “Project Lighthouse”

      96.   On Wednesday December 5, with only Dr. Tocco-Bradley’s “very

limited” review of medications used in connection with 5 of 24 patients (which did

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not address the patient care itself), Trinity “directed” Mount Carmel to report 24

murders to the Franklin County Prosecutor’s Office. (McKibben Dep. 51:15-52:7

(Ex. 19)).

      97.    That day, as directed by Trinity, Dr. Swanner and Sean McKibben

met with the Franklin County Prosecutor’s Officer to report 24 murders by Dr.

Husel. (McKibben Dep. 50:17-24 (Ex. 19)).

      98.    According to the public statements of Franklin County Prosecutor

Ron O’Brien, at that meeting, at Defendant’s direction, the Mount Carmel

delegation affirmatively told the prosecutors that they believed that the dosages

were “intended to hasten deaths.” (See 6/5/19 Transcript (Ex. 28)).

      99.    Trinity directed the MC West employees to present this opinion,

notwithstanding the fact that it contradicted all the information MC West had

collected to that date, and that the hospital was not in possession of any evidence to

suggest the doses were administered with an intention to hasten death.

      100. In none of the numerous meetings and calls that Trinity representative

Dr. Daniel Roth had with the Franklin County Prosecutor did Roth ever retract or

contradict Trinity’s unfounded suggestion that the dosage were “so high” that the

only explanation was an intent to kill.

      101. None of the individuals at the meeting had the medical training or

expertise to evaluate the care that Dr. Husel had provided with respect to the 24


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patients that were the subject of the meeting. Nor did Dr. Roth, who would quickly

become the primary liaison between law enforcement and Trinity/Mount Carmel.

      102. Sean McKibben and Daniel Hackett were not physicians, and Dr.

Swanner admitted in his deposition that he lacked the experience to opine on the

care that Dr. Husel provided in these specific instances, proclaiming at one point,

“I’m certainly not an expert in palliative care or critical care….” (Swanner Dep.

59:4-5 (Ex. 15)).

      103. The following day, without any further review of any of the 24 cases

by anyone, at Trinity’s direction Dr. Husel’s employment was terminated, even

though formal meetings to discuss his suspension and termination were held four

days post facto on December 10.

      104. One or two days after directing Mount Carmel to meet with criminal

authorities, to falsely accused Dr. Husel ordering end-of-life medication with the

intention of hastening death, Trinity hired Jarrard Phillips Cate & Hancock, Inc.

(“Jarrard”), a Tennessee-based “strategic healthcare communications firm” (i.e., a

public relations firm that specializes in working with healthcare clients). (6-17-22

Deposition of Marjorie Curtis (“Curtis Dep.”) 9:8-17, 13:8-11, 22:7-23:4; Roth

Dep. 178:9-19 (Ex. 30, Ex. 5)).




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      105. By Saturday December 8, Jarrard had already obtained enough

information from Trinity and Mount Carmel to produce a first draft of their

“National Communications Plan.” (Ex. 31).

      106. The first version of the plan, which was a playbook as opposed to a

draft disclosure, stated:

      The ongoing investigation into patient care at one of Trinity Health’s
      ministries, Mount Carmel Health System in Columbus, Ohio, will very
      likely be a public story in the coming days. The story, which involves a
      physician that ordered, and nurses that administered, fatal doses of pain
      medication for at least 24 patients who were receiving end-of-life care at
      Mount Carmel facilities, is certain to receive national attention….

      This national discussion can (and should) begin immediately once the story
      leaks, both in the hopes of controlling the narrative in the news (to the best
      of our ability) and in beginning to cede a conversation with our employees
      ministry-wide, with potential recruits and others about how Trinity Health
      believes end-of-life care should be delivered.

(Ex. 31 at JAR_0000346) (emphasis added).

      107. At the time, there had been no medical review of the patient records

that could support (or attempt to support) the conclusion that any patient was given

a fatal dose of medication, let alone that 24 patients were given fatal doses of

medication.

      108. In the first draft of the “core messages” to be communicated, Jarrard

included framing Dr. Husel’s care as a “tragedy,” referring to the dosages as

“fatal,” and referencing the involvement of criminal law enforcement. (Ex. 31 at

JAR_0000349).


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Mount Carmel Leadership Stages a Scene in the ICU and Mount Carmel Staff
Comes to Husel’s Defense

         109. On December 5, 2022, Mount Carmel West leadership announced to

the ICU staff that Dr. Husel had been terminated. (2-3-21 Deposition of Earlene

Romine (“Romine Dep.) 25:12-26:19; McKibben Dep. 57:16-58:13 (Ex. 32, Ex.

19)). The reaction, according to McKibben, was that the staff expressed a “fair

amount of emotion” because “they were close to Dr. Husel.” (McKibben Dep.

58:4-13 (Ex. 19)). At the time, Earlene Romine, the manager of the ICU nurses,

was at a conference in Cincinnati until December 7. (Romine Dep. 25:17-27:10

(Ex. 32)).

         110. During the following overnight shift (from December 6 into

December 7, 2018), Beth Macioce-Quinn circulated a petition that she had drafted

calling for Dr. Husel’s reinstatement signed by 36 clinical employees who worked

in or with the Mount Carmel West ICU and were on shift that night. (Ex. 33). In an

email transmitting the Petition to Mount Carmel Leadership, Nurse Macioce-Quinn

noted:

         I have unfortunately witnessed some undignified deaths in our unit, with
         patients gasping for air as their family members look on in horror. I truly
         believe that it is, and always has been, Dr. Husel’s good intent to honor the
         dignity and wishes of our patients and their family members in regards to
         palliative care and palliative withdrawal of care.

(Ex. 33).




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Trinity Works With Mount Carmel and PR Firm to Develop “Core Messages” for
Their Upcoming Campaign to convince the public Dr. Husel murdered 24 patients
with Two Key Points: (1) Preventing the Anticipated Argument That Dr. Husel was
Trying to Alleviate Pain from Shaping the Public Conversation; and (2)
Indictments Would Help Defendant Shape the Public Narrative into a Story of
Tragedy Caused by Individuals and an Institution That “Did the Right Thing”

      111. Even prior to Mount Carmel’s December 5, 2018 meeting with

prosecutors, they had engaged the services of a public relations consultant that

suggested the Hospital publicly portray Husel as a “villain” and involve law

enforcement, and discussed the ICU nurses as “co-villains.” (Lander Dep. 39:17-

25; Dep Ex. 39; Strategy Memo (Ex. 34, Ex. 35)).

      112. The Columbus-based firm, Communications Counsel, was quickly

sidelined for Trinity’s preferred firm, Jarrard, when it arrived on the scene a few

days later. (Lander Dep. 20:17-21:6, 68:5-7 (Ex. 34)). However, the idea that it

was to Defendant’ benefit for the public and law enforcement to view the 24 cases

as criminal acts persevered.

      113. On December 10, 2018 (the Monday after Jarrard was engaged), Magi

Curtis, the lead partner at Jarrard assigned to the matter, sent a detailed email to

Bret Gallaway, Trinity’s head of marketing and communications. (Lander Dep.

25:10-17; December 10 Strategy Email (Ex. 34, Ex. 36)).

      114. In the email, Curtis sought to learn (i) whether there were any national

standards with respect to the use and dosing of pain medications in connection with

terminal withdrawal; (ii) whether there were any clear and trained-to hospital or

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system policies with respect to the use and dosing of pain medications in

connection with terminal withdrawal; and (iii) the extent to which Dr. Husel and

the nurses were aware of such policies if they existed. (Ex. 36).

      115. The email went into detail to explain the circumstances under which

there would be a “risk” “where the emotional energy would go in favor of the

doctor/nurses” and how criminal charges against Dr. Husel and the nurses would

“lessen, but [] not eliminate, the public perception hit for Mount Carmel/Trinity in

the national story.” (Ex. 36).

      116. The email presented scenarios on how Trinity should respond based

on what the facts turned out to be. It was clear that as of December 10, 2018,

Jarrard and the Trinity executives preparing the public relations campaign

recognized the publicity risk that would occur if (as was actually the case) neither

Mount Carmel nor Trinity had any policies or standards regarding the medications

and dosages that should be used in connection with terminal withdrawals in an ICU

setting, and that there were no national standards either.

      117. This is why the email (and many subsequent documents) explicitly

state that criminal indictments would be helpful to Mount Carmel and Trinity: If

the public could be convinced that Dr. Husel and the nurses’ actions were criminal,

then the lack of policies at the hospital (surrounding the regulation and use of

opioids) would not be perceived as the cause of any issues. If the care the ICU had


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provided were to be publicly perceived as a crime, the absence of policies would

be of limited relevance.

      118. This is why as early as December 5, 2018, Trinity had set in motion

what would be a multi-faceted public and private PR campaign to make the public

at large, and the key audiences for Trinity—namely the Franklin County

Prosecutors’ Office—view Dr. Husel’s and the nurses’ actions as criminal.

      119. The December 10 email is highly illuminating. It describes certain

“scenarios” and then analyzes the public relations risk. In one scenario, the

document presumes that “Dr. Husel and the nurses knew that the doses they were

prescribing/administering were fatal because there is a clear medical standard [and]

… Mount Carmel ha[d] a clear dosing policy, documented and trained to.” (Ex. 36

at JAR_0001209). But this was not the case, as Trinity and Mount Carmel were

well aware.

      120. As Trinity and Mount Carmel’s records make clear, there was no clear

medical standard, nor did Mount Carmel have a clear, documented, and trained-to

dosing policy.

      121. And Dr. Husel’s and the nurses’ sole intent was to provide

compassionate comfort care, as every single witness interviewed by Mount Carmel

had said. Jarrad anticipated this possibility too, as it was the precise set of




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conditions set forth in “Scenario 3.” (JAR_0001211-12 Ex. 36). Jarrard had the

following advice regarding the “scenario” that accurately described the situation”

      Situation sets-up [sic] a dynamic almost guarantees for the emotional energy
      to go in favor of the doctor/nurses because there is no medical standard and
      Mount Carmel didn’t have a clear policy and all involved believed that what
      they were doing was the most humane thing for the patients.

      There is no clear standard and Mount Carmel didn’t have a clear policy,
      which makes leadership looks [sic] like it has decided on a whim when we
      became alerted to what was being done and felt like it was violating our
      ethical codes (even though we didn’t have a policy) then fired a respected
      physician and ruined his career.

(JAR_0001212).

      122. This was precisely what occurred. In the email, Jarrad noted that in

such a situation, “[i]f Dr. Husel and any nurse are charged, it lessens the blow for

Mount Carmel and Trinity Health.” (Id.).

      123. Even after it was clear beyond any doubt that Trinity and Mount

Carmel did not have any policies or practices for end-of-life care, and that every

witness, including Dr. Husel, told the hospital that the medications were

administered with an intent to provide comfort care, Trinity continued to push a

narrative that contradicted the truth of their investigative findings: that Dr. Husel

and the nurses made good faith and medically appropriate decisions about patient

care in a vacuum of applicable national standards or clear Trinity/Mount Carmel

policies.




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      124. They certainly did not take Jarrard’s advice to “[a]pologize to the

employees and physicians for taking a stance when we didn’t have a clearly

defined policy.” (Id.).

      125. Rather, Defendant crafted public messages that would make the public

and prosecutors believe that there were clear policies that were violated, and that a

new initiative at the hospital called “Zero Harm” was responsible for identifying

the purported breaches.

      126. Thus, the (knowingly untrue) message would be that individuals

violated clear policies and were responsible, and that the system worked in rooting

out the problem.

      127. This scenario was much more presentable to one of Defendant’ other

important audience, the United States Conference of Catholic Bishops and

individuals (Catholic or otherwise) interested in “sanctity of life” issues. These

audiences were routinely referenced in Defendant’ planning documents. (See, e.g.,

TMCN0109265-66, identifying “regulators,” “elected officials,” “patients,”

“church leaders,” and “local/national/trade media” as “key audiences” (Ex. 38)).

      128. This false presentation of the operative facts, which Jarrad described

as “scenario 1(a)” still, according to Jarrard, “set[] up a dynamic where the

emotion energy could go in favor of the doctor/nurses,” but where “[i]f the county

prosecutor finds that Dr. Husel (and the nurses involved) were involved in criminal


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acts and moves to bring charges, this certainly lessens, but does not eliminate, the

public perception hit for Mount Carmel/Trinity health… .” (Ex. 36 at

JAR_0001212).

      129. Unsurprisingly, Defendant’ public statements were exactly consistent

with a textbook effort to pressure a public authority to take an enforcement action.

And Defendant private campaign to discredit Dr. Husel and the nurses started on

December 5, where in the very first meetings, Defendant told prosecutors that they

believed the medications were “intended to hasten death,” even though the results

of their interviews indicated precisely the opposite.

      130. Not surprisingly, an additional tactic Defendant used to prevent “a

dynamic where the emotional energy could go in favor of the doctor/nurses,” and

to avoid diminishing any public or official interest in prosecuting Husel or others,

was to never disclose or suggest what Defendant knew from their interviews and

meetings with Dr. Husel and those working with him: that each had unequivocally

stated that they only intended to alleviate pain and never wanted to hasten death.

      131. Melissa Lander of Trinity would try to explain in a deposition,

without irony, that the decision to withhold this crucial detail as religiously

required and argued that by keeping the Plaintiffs’ expressions of their bona fide

intentions out of the public arena, Defendant were being pious by withholding

“judgment” on their actions. (Lander Dep. 105:12-106:2 (Ex. 34)).


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      132. By December 14, the “Lighthouse” plan had been refined, and drafts

of a “core message” plan and responses to anticipated “FAQs” were being

circulated and commented on by Melissa Lander and Brett Justice (the

communications team at Mount Carmel), Bret Gallaway (the head of marketing

and communications at Trinity) and Jarrard. (Ex. 40). In a December 14, 2018

email, Gallaway sent an email, remarking on the plan, and noting:

      Many thanks for preparing this strategic, clear and well-organized approach.
      You were right to talk about the broader view of this tragedy, including the
      actions of the nurses and pharmacists….

(Ex. 40 at JAR_0000428).

      133. The document Gallaway referred to included the “new set of core

messaging based on [Jarrard’s] conversations with Dr. Daniel Roth and Sister

Mary Ann Dillion” (Trinity’s Executive Vice President, Mission Integration and

Sponsorship). (Id. at 429).

      134. The proposed responses to FAQs had settled on describing the actions

as “violating” Mount Carmel’s “Standards of Care” even though there were no

“standards” at all in connection with the terminal withdrawal procedure.

      135. At that point, the documents described the medications used as “fatal

overdoses,” though this language would later be modified with the word

“potentially.” (Id. at JAR_0000432).




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       136. While the final communication that was issued to the public, after a

contentions internal dispute, modified the term “fatal” with “potentially” to

assuage a concern expressed by Mount Carmel West’s CEO, Edward Lamb, the

Trinity-created drafts made clear what Trinity’s message was: Husel prescribed

fatal overdoses.

       137. The “Communications Plan” itself (JAR_0000440-44 (Ex. 40)) was

another clear window into the many false messages Defendant would portray, and

the audiences for these messages. Defendant sought to procure indictments against

Dr. Husel and others to focus the public’s attention and anger on individuals and to

capitalize on the situation by promoting the Trinity’s and Mount Carmel’s public

credibility.

       138. The document “outline[d] communications to achieve []objectives”

including to “[p]reserve the reputation of Mount Carmel Heath System (MCHS)

and Trinity Health (Trinity) as high-quality healthcare institutions deeply rooted in

a strong commitment to mission-driven [(i.e., Catholic)] care” and to “[i]nstill

confidence among all audiences important to MCHS and Trinity that we recognize

the tragedy….”

       139. This document thus serves as a window of insight. As Magi Curtis

had correctly surmised in her December 10 “scenarios” email, Trinity’s impulsive

reaction in the November 30 –December 5 time frame was likely spurred by a


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primary concern that what Dr. Husel had done, in prioritizing pain relief and

accepting the potential incidental consequences which could include a hastening of

death, was in violation of Catholic principles of not interfering with the “sanctity

of life.”

       140. It did not violate any published medical standard or hospital policy.

As the December 14 plan made clear, defining (or “recognizing”) the events as a

“tragedy” in the first place for their key audiences (including the Catholic Church)

was one of Defendant’ primary communication goals.

       141. The very first point on strategy put the plan into focus:

       Our messaging must appeal to the heart as well as the mind. The messaging
       from the doctor, nurses and pharmacists will likely be heavy on emotion:
       “We were just trying to alleviate acute suffering in the patients’ last few
       minutes of life.” Our emotional argument must be stronger…While our
       position would be strengthened by an indictment(s), our argument must be
       able to stand on its own, regardless of what the D.A. does.

(Ex. 40 at JAR_0000440).

       142. By December 18, 2018, Mount Carmel was already preparing its first

public disclosure, which would involve calling the families of all “impacted

patients,” which was 26 at the time. (Family Outreach Plan (Ex. 42)).

       143. In fact, on December 17, 2018, Dr. Roth met with the Columbus

prosecutor, along with counsel and Brett Justice (MCHS head of communications)

for the purpose of discussing Mount Carmel’s and Trinity’s desire to make a public

disclosure, and they wanted approval. (Roth Dep. 207:3-209:21 (Ex. 5)).

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      144. The core “strategy” was slightly adjusted on December 19, 2018, in a

version that Bret Gallaway revised to incorporate the comments of Richard

Gilfillan, the Chief Executive Officer of Trinity. (Revived Messaging Strategy;

Lander Dep. 58:9-25 (Ex. 43, Ex. 24)). The “Strategy” section of the December 19

version stated:

      Our messaging must appeal to the heart as well as the mind. The messaging
      from the doctor, nurses and pharmacists will likely be heavy on emotion:
      “We were just trying to alleviate acute suffering in the patients’ last few
      minutes of life.” Our emotional argument must be stronger…Our emotional
      argument should center around the following: Our first commitment as
      medical professionals is to do no harm, and that commitment must not be
      violated to alleviate acute suffering at the end of life. In fact we’ve taken
      great care to ensure that our end of life care allows patients to die peacefully,
      in dignity and comfort, without disrespecting the sanctity of life……While
      our position would be strengthened by an indictment(s), our argument must
      be able to stand on its own, regardless of what the Prosecutor does.

(Ex. 43 at JAR0004968).

      145. This formulation again highlighted the value of obtaining indictments

to “strengthen” Defendant’ message. The “Key Messages” section of the document

stressed that “[t]he acts of this doctor, along with a small number of nurses and

other clinical staff, were a clear violation of how we care for patients at Mount

Carmel,” again preparing to convince the public that the care of the patients

actually violated a policy when it did not. (Ex. 43 at JAR0004968).




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       146. On December 21, 2018, Gallaway forwarded his colleagues the final

version of the Lighthouse plan. (Final Strategy Plan (Ex. 45)).3 In his cover

message, Gallaway indicated, “We will use this as the foundation for all

communications messaging and tactics. We do not plan to change these core

messages unless the related facts or circumstances change.” (Ex. 45 at

JAR_0000549). Nothing changed.

       147. The Strategy section of the final plan stated:

       We will have a clear message that refutes people who say “The physician
       was just trying to alleviate acute suffering in the patients’ last few minutes of
       life…. Our position must be able to stand on its own, regardless of whether
       the county prosecutor’s work results in any indictment(s).

(Id. at JAR_0000551-52).

       148. Trinity’s plan was to solicit indictment to reinforce its desired public

message.

       149. Trinity was correct to presume that the nurses and Dr. Husel would

take the position that their only intent was to alleviate pain because Trinity had

been told exactly that.

       150.    When Trinity was interviewing the nurses who worked with Dr.

Husel and who cared for the patients at issue, every single one indicated that they



3
  In her deposition, Curtis suggested the “final” plan was not the final plan because new
information was obtained around January 1. She did not recall what the information was, and a
February 2019 email forwarding the plan as the “final” version makes clear that the December
21 version was final. (TMCN0169988–994 (Ex. 46)).

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did not intend to hasten any patient’s death. As Dr. Roth, the corporate

representative designated to testify on behalf of Mount Carmel and Trinity

admitted:

      128
      […]
      12· · · · Q.· · No, it – well, we can talk about
      13· ·that.
      14· · · · · · · In your investigation on behalf of
      15· ·the hospital, did anyone that provided the
      16· ·clinical care to any of these patients at any
      17· ·time, Dr. Husel, the nurses, the pharmacist tell
      18· ·you they intended to hasten death?
      19· · · · A.· · Nobody told us they intended to
      20· ·hasten patient death.
      21· · · · Q.· · And isn’t it clear that they all
      22· ·individually to the members said they did not?
      23· · · · A.· · To those that were interviewed, yes.
      24· ·Not Dr. Husel to your point.
      25· · · · Q.· · Well, apparently he said it to
      ·3· ·Dr. Swanner.

      129
      […]
      ·4· · · · A.· · Yeah, okay, fair enough.
      ·5· · · · Q.· · So that would be every person
      ·6· ·involved said they didn’t intend it; would that
      ·7· ·be fair?
      ·8· · · · A.· · Yep.

(Roth Dep. (EX. 6)).

      151. Trinity did not care about this truth, because it contradicted Trinity’s

public narrative: Trinity doing the right thing in the face of something sinester.

Trinity Commissions a Second (Substantive) Review of Care, but
Disregards/Disavows the Results

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      152. While the communication plans were being prepared, Dr. Daniel Roth

went back to Dr. Tocco-Bradley and asked her to review the full records of 25

patients. This time Dr. Tocco-Bradley was given access to the patients’ medical

records. (Tocco-Bradley Dep. 97:12-99:5 (Ex. 26)). Dr. Tocco-Bradley reviewed

the medical records and created a spreadsheet to track the information she deemed

important. (Spreadsheet; Tocco-Bradley Dep. 102:20-103:9 (Ex. 47, Ex. 26)).

      153. She used this spreadsheet to create the second report. (Ex. 48). Her

December 16, 2018 review concluded:

      After reviewing all 24 records, I believe that each patient was terminal and
      appropriate for DNAR status and ventilator wean. It is appropriate to
      provide medications such as morphine, fentanyl and versed to terminal
      patients who might experience agitation, acute respiratory distress or
      anguish close to the time of their death. I cannot say for sure why the given
      clinician chose to use such large doses of palliative medications but perhaps
      he felt he was providing more humane pharmacologic support through the
      terminal stages of dying. The dosing regimen he used, to my knowledge, is
      outside of typical standard of care even for most terminal patients.

(Ex. 48).

      154. In her worksheet that evaluated the cases, Dr. Tocco-Bradley

concluded that in many cases the medications could cause death in an unventilated

patient, but she did not conclude that the use of the medications with the particular

patients at issue actually had caused or contributed to their deaths.

      155. Moreover, in 7 of the 24 cases, Dr. Tocco-Bradley concluded that she

saw no potential connection between the dosages used and the patients’ survival



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time following extubation. (Ex. 48). Dr. Tocco-Bradley testified unequivocally that

none of the patients whose records she reviewed could have survived but for the

medication. (Tocco-Bradley Dep. 147:11-16 (EX. 26)).4

       156. Ultimately, the result of Dr. Tocco-Bradley’s review proved too

equivocal for Trinity.

       157. It was never provided to the prosecutors (though it was eventually

produced by Mount Carmel in response to a subpoena by Dr. Husel’s criminal

defense team).

       158. Defendant had already established their communications goals and

strategies, which were to work toward ensuring the Franklin County Prosecutors

Office indicted at least William Husel and hopefully nurses and pharmacists, and

to find a strong emotional angle to counter the anticipated message from Dr. Husel

and the nurses that they were just trying to alleviate acute pain. (See Exs. 40, 43,

35, 36, 45, 52)).

       159. Dr. Tocco-Bradley’s speculation that “perhaps he felt he was

providing more humane pharmacologic support through the terminal stages of

dying” was certainly not “on-message.”


4
  In her deposition, however, Dr. Tocco-Bradley explained that her only experience in terminal
withdrawals involved organ donors, where the withdrawal would be followed by an organ
harvest procedure, and required protocols specific to that procedure, given the need to preserve
the organ(s). Dr. Tocco-Bradley, an anesthesiologist, otherwise had no experience with ICU
terminal withdrawals where, as was the case with each of the 35 patients, the only clinical goal
was pain mitigation. (Tocco-Bradley Dep. 9:12-13:13, 24:13-25:9 (Ex. 26)).

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      160. Dr. Roth testified that he was totally unaware of Dr. Tocco-Bradley’s

second report at the time and did not learn about it until the spring of 2022, during

litigation, and that it was not used at all in connection with the investigation. (Roth

Dep. 203:25-204:11 (Ex. 5)).

      161. However, Dr. Roth testified that the only analyses done of Dr. Husel’s

patient care and his dosing decisions were by Dr. Swanner, Dr. Moody, Dr. Tocco-

Bradley and an outside group, Greeley Co. LLC. (Roth Dep. 162:5-20 (Ex. 5)).

      162. But Dr. Swanner clearly did not have the requisite expertise to

conduct the analysis, as he made clear in his deposition. Dr. Moody’s advice to

Dr. Swanner was also equivocal, in that she could understand why a patient would

need higher doses, such as those Dr. Husel ordered due to tolerance, but thought it

would be very infrequent.

      163. Dr. Tocco-Bradley’s first report was only a high-level summary and

only related to five patients but did not include any patient information, and Dr.

Roth testified as the corporate representative of Trinity and Mount Carmel that her

second report was not part of the investigation.

      164. As such, with respect to these “reports” none of them could be

considered an actual investigation into the relevant events.

      165. Trinity commissioned another report, the Greeley report. However,

the Greeley report was not received by Trinity until January 2, 2019, which was


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too late to inform Defendant’ decisions to make a report to the Franklin County

Prosecutor, or, as discussed below, the decision to tell the family members of 26

patients that their loved ones had been given medication that “likely shortened

their time” on December 27, 2018. (Ex. 41)) all of which had already occurred.5

         166. The Greeley report was demonstrably intended to be a post hoc

justification of the actions Trinity had already taken and was paid for and used to

buttress false information already given to the Franklin County Prosecutor. This

addition “report” was employed as part of Trinity’s efforts to procure an

indictment of Dr. Husel and perhaps others.

December 27, 2018 – After Identifying More Than 50 Instances of Terminal
Withdrawals Overseen by Dr. Husel Under Varying Circumstances, Defendant
Decide to Call the Families of 26 of Those Patients and Provide False Information
Regarding the Impact of Pain Medication and Without Having Conducted Any
Meaningful Evaluation of the Care

         167. During the course of their investigation, Trinity and Mount Carmel

ran five reports to identify patients cared for by Dr. Husel using varying

parameters. (Dep. Ex. 66, McKibben Dep. 33:3-22 (Ex. 25, Ex. 19)). The reports

were as follows:

    Date of       Parameters                                               Number of
    Report                                                                 Patients
                                                                           Identified


5
  In the related Ohio action, all documents regarding the Greeley report were withheld by
Defendant, as Defendant claimed it was a privileged report that was commissioned and prepared
at the direction of counsel and cannot be considered by the Court or a jury for any purpose.
(Defendant’ Privilege Log at 16 (Ex. 37)).

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 11/23/2018     Patients that expired within 400 minutes of an       14
                order for 800 micrograms of fentanyl or greater
 11/26/2018     Patients that expired within 400 minutes of an       24
                order for 500 micrograms of fentanyl or greater
 12/05/2018     Patients that expired after an order for 500         40+
                micrograms of fentanyl or greater (no time
                limitation)
 12/19/2018     Patients that expired within 120 minutes of an       35
                order for 500 micrograms of fentanyl or greater
                or any dosage of fentanyl plus one of several
                other medications (6 mg of Versed, 20 mg of
                valium, 6 mg of hydromorphone, 100 mg of
                ketamine, 140 mg of propofol and any amount
                of paralytics in the 60 minutes prior to
                extubation.
 12/21/2018     Patients that expired within 120 minutes of any      32
                dosage one of several other medications in
                excess of the following: 500 micrograms of
                fentanyl, 6 mg of Versed, 20 mg of valium, 6
                mg of hydromorphone, 100 mg of ketamine,
                140 mg of propofol and any amount of
                paralytics in the 60 minutes prior to extubation.

(Ex. 25)).

      168. On December 27, 2018, at the direction of the administration and

Trinity, Mount Carmel clinical staff (including Dr. Ralston and Dr. Swanner)

called the legal representatives (usually a family member) of 26 patients.

      169.    In each case, the callers followed a script which explicitly set forth

what could and should be said and what could not and should not be said. (Call

Script; Ralston Dep. 115:3-117:23; Swanner Dep. 115:17-120:17 (Ex. 41, Ex. 3,

Ex. 15). Deviation from the talking points were not permitted. (Id.).



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      170. In no case did the caller have any personal knowledge of the care the

patient had received, nor were the callers given any access to the medical records.

(Ralston Dep. 113:25-114:13 (EXx. 3)).

      The callers told each of the family members:

      [I]t’s likely the dose of pain medication further shortened his/her time. We
      are truly sorry this happened…Please know this is not how we deliver care
      at Mount Carmel…We reported our concerns to authorities, and
      investigators may be contacting you…the employees involved here have
      been removed from patient care….

(Ex. 41 at 5). The Mount Carmel representative who made the call had no idea

whether their statements were true or not, and no way of finding out. But Trinity

knew these statements were false.

      171. The calls made on December 27, 2018 were the first time Mount

Carmel made a public disclosure, though it was limited and temporarily discreet.

However, Trinity was aware that these disclosures would unquestionably lead to

lawsuits, and well aware that the lawsuits would bring the entire story they had

been preparing into the press and the public at large.

      172. Ultimately, Trinity and Mount Carmel released their press statements

and pre-recorded videos on the same day that the first lawsuit was filed.

      173. Trinity was also aware (and intended) that the press coverage of the

announcement and the lawsuits would pressure the Franklin County Prosecutor’s

office to take action against Dr. Husel.



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      174. While the December 27, 2018 statements defamed Dr. Husel, the calls

to families were a fire that Defendant (who were admittedly “desirous of

disclosure” (Roth Dep. 208:6-209:19 (Ex. 5) deliberately lit to create an

opportunity to launch their carefully crafted communications blitz (internally

referred to in planning documents as “D-DAY”) (See Dep. Ex. 40) (Ex. 50), aimed

at ensuring that the public believe that Dr. Husel was a villain and the nurses and

pharmacists were “co-villains” who had murdered at least 25 patients, and that they

should be prosecuted for their crimes.

Mount Carmel Leadership and Prosecutors Urge That Medications Not Be
Publicly Described as “Fatal”; Trinity Leadership Refuses to Remove Term from
Planned Statements, but Allows Revision to “Potentially Fatal”

      175. Between late December 2018 and January 14, 2019, Trinity created

and revised a script for a video that would be publicly released to the press and

elsewhere, and another that would be released to 11,000+ Columbus-area

employees of the Mount Carmel Health System.

      176. The videos were to be made public with a simultaneous release of

written statements from both Mount Carmel and Trinity on a date referred to as

“D-Day.” (Id.). In all versions of the scripts and written communications through

January 6, 2019, the medications were always described as “fatal” without

modification. (See JAR_0000206-07 (1/6/19 draft Gilfillan letter to all of

Trinity)(Ex. 53), Packet of 12/14/18 Draft Communications documents) (Ex. 40)).



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      177. On January 8, 2019, Mount Carmel CEO Edward Lamb raised a

concern about publicly using the term “fatal” when describing the doses. (Ex. 54)).

In an email to Bret Gallaway, Dr. Daniel Roth, and others, Edward Lamb asked:

“Bret, do we need to say – ‘and in most cases the doses were fatal?’ Just thinking

about the optics and consequences of saying that.” Lamb would later urge in his

deposition that he personally did not believe any crime had occurred. (Lamb Dep.

86:12-14 (Ex. 22)).

      178. Melissa Lander, the communications lead for Mount Carmel, also did

not favor using the word “fatal.” (Lander Dep. 124:2-127:10 (Ex. 34).

      179. Sixteen minutes later, Gallaway responded:

      Thanks, Ed. Dan [Roth] and I discussed it this morning. Of the 27 cases, we
      are confident that the doses were fatal in 17 of the cases. Since that’s more
      than half, we can say “most.” If pressed by a reporter, we could say the
      number is “at least 14.” We should say that a number of the doses were fatal,
      because that highlights one reason we are so concerned about these events.
      We say that life is sacred to us.

(Ex. 54)).

      180. During discovery in the Ohio case, Defendant was repeatedly offered

an opportunity to produce, and in fact were demanded to produce, records

supporting this statement. Trinity never did so. They failed to produce any record

supporting this statement because in fact there are no medical assessments or other

documents that could even arguably support Mr. Gallaway’s assessment of which

cases Trinity was “confident” involved fatal doses.

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      181. However, Ed Lamb and Melissa Lander were not the only people who

were unsupportive of a public statement describing the doses as “fatal.” According

to contemporaneous notes taken on a January 13, 2019 call of senior management

discussing the term, one of the participants reported that the “[Franklin County]

Prosecutor doesn’t like fatal.” (Ex. 55.)

      182. According to the same document, Richard Gilfillan, the Trinity CEO,

was ambivalent and could “go either way” but Bret Gallaway, Trinity’s Head of

Marketing and Communications, “was pushing fatal.” Ultimately the decision was

made to modify the word “fatal” with “potentially” (TCMN0178514 (Ex. 55)) in

the public statements, while continuing to state to the prosecutor’s office that the

doses were in fact fatal and Husel intended to cause the death of 24 patients.

January 14, 2019 – Defendant Release First Fully Public Statements, Falsely
Telling the Public that 26 Patients Received “Potentially Fatal” Dosages of
Medication, Falsely Telling the Public that this Happened Because Hospital Staff
Ignored Clear Policies and Safeguards, and Falsely Telling the Public that a
Brave Employee Spoke Up as a Direct Result of a Safety Initiative that had been
Implemented 18 Months Earlier

      183. On January 14, 2019, at Trinity’s direction, Mount Carmel made their

long-planned public announcement. The announcement was made via two videos

released through YouTube as well as written announcements from both Mount

Carmel and Trinity.

      184. One of the videos was supposedly only for the 11,000 employees of

Mount Carmel, but it was soon disseminated to the public at large. A full transcript

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of the announcement is attached. (1/14/19 Transcript (Ex. 56)). In pertinent part,

the statements said the following to the public:

      Mount Carmel recently reported to authorities, the results of an internal
      investigation regarding the care provided by a doctor who, until recently,
      worked with patients requiring intensive care. During the five years he
      worked here, this doctor ordered significantly excessive and potentially fatal
      doses of pain medication for at least 27 patients who were near death….

      On behalf of Mount Carmel and Trinity Health, our parent organization, we
      apologize for this tragedy, and we’re truly sorry for the additional grief this
      may cause these families….

      As you can imagine, this tragic news has caused many tears and anguish
      throughout our Mount Carmel family…

(Ex. 56)).

      185. As anticipated and planned, the press reaction was swift. It picked up

on all of the frames that Defendant sought to use, and the Defendant’ control of the

public narrative had started.

      186. In short, the announcement falsely stated that Dr. Husel had ordered

medication that “potentially” killed 27 people, when in truth, the medication Dr.

Husel ordered did not cause (or potentially) cause a single death as Trinity knew

when it directed the statement to be made.

      187. The statement also asserted that nurses and pharmacists who worked

with him made poor decisions and “ignored” policies and safeguards, when there

were no policies in place at all regarding the use of medications in connection with

terminal withdrawals. Finally, the statement that “unintentional human error is not


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punished” made clear that anyone who ended up the subject of an adverse

employment action acted with intent.

      188. The following day, Trinity directed Mount Carmel to release a

statement to the press indicating “[o]ne of our foremost goals has been to fully

cooperate with the prosecutor and other authorities,” making clear to all of

Columbus that there was a criminal investigation. (Ex. 57 at TCMN0009042).

      189. On January 22, 2019, Trinity directed Mount Carmel again reminded

the public of the criminal investigation, and effectively invited the patients’

families to initiate lawsuits, with a release stating:

      Based on what this doctor did to these near-death patients, we understand
      that some of these families may be considering legal action. We’ve
      apologized to these families, we’ve apologized publicly, and we’re
      continuing to cooperate with law enforcement and other authorities.

(Ex. 57 at TCMN0009048).

January 24, 2019 – After Press Coverage Wains, Defendant Falsely Claim to Have
“Identified” Seven Additional Cases, When They Had Merely Revised Their
Disclosure Parameters and Announced That They Are Considering Whether Any
Patients Could Have Survived

      190. On January 24, 2019, Trinity directed Mount Carmel to release

another statement asserting:

      We have identified seven additional patients who received excessive doses
      of pain medication that Dr. Husel ordered. One of the patients received an
      excessive and potentially fatal dose. The other six patients received
      excessive doses that went beyond providing comfort but were likely not the
      cause of their deaths. We contacted the loved ones of these patients because
      it was the right thing to do. This brings the number of patients involved to at


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      least 34, and we anticipate we might discover more as our investigation
      continues.

(Ex. 44).

      191. This statement asserted several falsities. By stating that six of the

seven “newly identified” cases involved medication that was “likely not the cause

of their deaths,” Trinity reinforced their statements that the medication was the

cause of 28 deaths. This was false.

      192. In addition, there was nothing newly discovered to announced, as all

of the patients had been identified on the internal reports Defendant had run the

previous month. (Parameter Reports; Roth Dep. 323:5-7 (Ex. 25, Ex. 5)).

      193. In addition, to inject further hysteria into the frenzy Trinity directed

Mount Carmel to elicit from the press, the statement added:

      We are investigating whether Dr. Husel ordered excessive doses of
      medication when there was still opportunity to explore if there were
      reversible causes of patients’ immediate conditions.

(Ex. 44).

      194. As Trinity’s representative witness regarding the press statements

admitted, this statement indicated (falsely) that there was a concern that some of

the 35 patients were not terminally ill and could have been saved but for the

administration of “lethal” doses of medication.

      141
      […]
      10· ·Q· · · What does that mean?


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      11· ·A· · · Just what it says.· I guess I don’t understand what
      12· · · · · you’re asking.
      13· ·Q· · · Well, I read that as the, Mount Carmel was looking
      14· · · · · into whether there were patients who were given fatal
      15· · · · · doses of medication who otherwise might have survived.
      16· · · · · Is that what it was intended to mean?
      17· ·A· · · Yes.

(Lander Dep. Ex. 34)).

      195. As they had with the January 14, 2019 release, both Dr. Daniel Roth

and Edward Lamb met with reporters for the Columbus Dispatch in advance of the

announcement (Lander Dep. 140:9-19 (Ex. 34)) to ensure that the message was

conveyed and understood as Trinity intended.

February 22, 2019 – Defendant Falsely Claim to Have Identified Five Cases
Where Patients Might Have Survived

      196. On February 22, 2019, Trinity directed Mount Carmel to issue what

may have been their most damaging false statement: that five patients were not

terminally ill and could have survived but for the medication they received.

Specifically, on February 22, 2019, Defendant—knowing that it was patently

false—publicly stated:

      As previously shared, we also have been investigating whether any of the
      affected patients received excessive doses of pain medication when there
      was still an opportunity for treatment to improve their immediate condition.
      We are aware of five cases in which this possibility is a concern, and we are
      reaching out to the loved ones of these patients to share this information.

(Ex. 58).




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         197. Again, to remind the public that the county prosecutor was

investigating, the release added, “Our internal investigation is ongoing, and we

continue to share information and cooperate fully with authorities, including law

enforcement.” (Id.).

         198. However, despite repeated demands, Defendant in the Ohio action

were unable to produce in discovery any document that indicated the identity of the

five patients identified in the February 22, 2019 disclosure that Trinity falsely

stated could have survived but for the fatal dose of fentanyl prescribed by Dr.

Husel.

         199. Trinity’s corporate representative regarding the investigation, Dr.

Daniel Roth, could only guess as to the identify three of them and said, “I don’t

think they [the names] were specifically recorded.” (Roth Dep. 376:24-377:20,

377:2-378:5 (Ex. 5)).

         200. One of the three was a patient who had, in fact, entered the hospital

without a life-threatening condition but died, nonetheless. That patient had

undergone a kidney biopsy that led to complications which ultimately caused her

death.

         201. As such, while actions taken at Mount Carmel did cause her death,

those actions occurred long before the patient was transferred to the ICU, when it

was too late. (Downs Dec. ¶ 23 (Ex. 8)). Dr. Roth admitted that the patient


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appeared to die of complications from a procedure. (Roth Dep. 379:4-6 (Ex. 5))

notwithstanding his having directed the public statement that this patient could

have survived.

      202. Indeed, the trajectory of the February 22 disclosure started with a draft

from January 17 (Ex. 59), which, unlike the final product, candidly admitted that

any hospital-caused/avoidable complications that led to the five patients’ deaths

were unrelated to the care the patients received in the ICU.

      203. But the February 22 disclosure, in context, sent the clear message that

the ICU—not the area of the hospital where the avoidable complication occurred—

not just could have prevented these deaths, but gave “potentially fatal” doses of

medication instead. However, these patients’ conditions had become terminal and

irreversible before they were transferred to the ICU. A fact that Trinity was well

aware of prior to making the false public statement for the purpose of seeking an

indictment of Dr. Husel.

      204. In the evening of February 22, 2019, Bret Gallaway sent a

congratulatory email to Trinity and Mount Carmel senior leadership, exclaiming:

“Kudos to Melissa Lander and Samantha Irons for leading this effort and

influencing the Dispatch coverage. We’ll track other local and national coverage

and discuss during our 4pm call today.” (Ex. 60). The article, titled “Mount Carmel




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says 5 patients may have survived with proper care,” stated that this information

had been supplied by Dr. Daniel Roth, and quoted Edward Lamb as saying:

       I hope that as we continue to go down this road that the community
       understands how devastated we are about all of this…And certainly
       we realize that we’ve lost the trust of our community, and we’re
       working on trying to do everything we can to rebuild that.

       (E1. 51).

       205. Nothing in the article would even suggest to readers that the lack of

“proper care” occurred before the patients reached the ICU.

       206. On February 28, 2019, the aspect of Trinity’s campaign that was to

elicit an indictment, and to legitimize their core message with the imprimatur of

the Franklin County Prosecutor, bore its first fruit.

       207. Having falsely told the public that five patients could have survived

but for Dr. Husel’s fentanyl prescription, and with Trinity pushing for Dr. Husel’s

indictment, the prosecutor was compelled to release a joint statement with the

Columbus Police Department to announce that they were “vigorously working” on

an investigation, but there was a substantial amount of work left to be done. (Ex.

61).

       208. In response, Trinity directed Mount Carmel to immediately enforced

their message again, with a fully reiterative statement calling attention to the

Franklin County Prosecutor. The release stated:




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      We appreciate the candor of the Franklin County Prosecutor’s Office and the
      Columbus Division of Police as well as their ongoing commitment to
      pursuing justice. The deaths of patients under the care of Dr. William Husel
      are tragic. The facts of these cases are complex, and the ongoing nature of
      the investigations means that new information can continue to surface. The
      total number of patients involved is at least 35. There were 29 patients who
      received potentially fatal doses of medication. The other six patients
      received excessive doses that went beyond providing comfort but it was
      likely not the cause of their deaths.

(Ex. 57 at TMCN0009067).

      209. That day, Bennett Haeberle of CBS-affiliate Channel 10 reported,

“One of the main questions I get from viewers is ‘why has no one been charged in

this case?’ The short answer: authorities say they still have a lot of work to do.”

(Available at https://www.10tv.com/article/news/local/prosecutors-police-

vigorously-working-investigation-former-mount-carmel-doctor/530-aa0ba73e-

c4db-4343-8fe4-81df28aef4e3).

      210. Haeberle’s reporting made clear that the public had already been

convinced a crime occurred, even though the criminal authorities had yet to say on

word on the topic. A law professor from Ohio State University interviewed on the

program explained that one of the likely reasons for the delay was that authorities

needed to determine how many people to charge for the murders.

      211. On March 8, 2019, Defendant again repeated themselves to the public,

in a release that urged:




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         We recognize that this tragedy involving Dr. Husel has affected how some
         people view Mount Carmel. We have been and will continue to work every
         day to ensure something like this never happens again.

(Ex. 57 at TMCN0009070).

June-July 2019 – Dr. Husel Indicted; Defendant Immediately Prepare Final
Disclosure and Conclude “Project Lighthouse”

         212. On June 5, 2019, the Franklin County Prosecutor indicted Dr. Husel

on 25 counts of murder. In a press conference that day, Franklin County Prosecutor

Ron O’Brien stated that on December 5, 2018, representatives of Mount Carmel

had contacted him with an urgent request to meet that same day. At the meeting,

O’Brien explained that Mount Carmel representatives told him that:

         Dr. Husel had been administering doses of fentanyl at a level that they
         internally believed were inappropriate, and not for a legitimate medical
         purpose, and which they also believed were designed to hasten the death of
         the patients who were being treated.

(Available at https://www.youtube.com/watch?v=qnwz9cBy3Ic; 6-5-19 Transcript

(Ex. 60)). At the same press conference, Columbus Chief of Police Quinlan

explained:

         A significant challenge unique to this investigation is that detectives needed
         to familiarize themselves with medical records’ terminologies, practices and
         procedures in order to understand the difference between treatment and
         criminal activity. This challenge was met with the support of … the
         extraordinary cooperation provided by Mount Carmel Health Care.

(Id.).




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         213. After Chief Quinlan spoke, Mr. O’Brien returned to the podium to

reiterate his appreciation for the assistance and support provided by Defendant, and

especially praised “Dr. Roth from Trinity.” (Id.).

         214. Having obtained exactly what their public relations campaign sought

to obtain—Dr. Husel’s indictment—Trinity promptly issued a statement to the

press:

         We appreciate the County Prosecutor’s leadership and his ongoing
         commitment to justice in this case. Following the discovery of the actions of
         Dr. Husel, we notified appropriate authorities, including law enforcement.
         We have shared information with them and will continue to fully cooperate
         throughout their investigation.

(Ex. 57 at TMCN0009090).

         215. Therefore, on June 5, 2019, Defendant had obtained the “helpful”

indictment(s) they sought to procure to buttress their “stronger” emotional message

designed to counter any argument that the nurses and Dr. Husel were “just trying to

alleviate the acute pain of dying.” With the pressure campaign having achieved its

goal, Defendant immediately began to dismantle the apparatus they had put in

place, end the supposedly “ongoing” investigation, prepare one last press release,

and terminate almost every member of the ICU staff on leave after having claimed

to have followed a “Just Culture” process.

         216. On June 11, 2019, less than a week following the indictment, at

Defendant’s request, Jarrard produced an “announcement planning” with respect to


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“Internal Investigation Conclusion [and] Colleague Decisions.” (Final

Announcement Plan; Lander Dep. 153:12-154:12 (Ex. 62, Ex. 34)). The draft plan

made clear that the announcement of terminations (of Plaintiffs and others) was not

awaiting the result of any investigation, but rather awaiting the announcement of

an indictment, which had finally arrived. This was done, presumably, so that

Defendant could maintain leverage over the employees on leave while until the

conclusion of their public campaign—both to ensure cooperation and to silence

any inconsistent messages while the prosecutor mulled the indictments Defendant

desired.

      217. In December 2019, Husel commenced a lawsuit against Mount

Carmel and Trinity alleging defamation, and breach of a contract that required his

legal fees to be paid. At the time, this cause of action had not yet accrued, nor was

Dr. Husel aware of the extent of Trinity’s involvement and control of its

subsidiary’s (Mount Carmel) conduct.

Prosecution Drops 11 Counts of the Husel Indictment; During Trial, Columbus
Police Testify That the Decision to View Husel’s Actions as a Crime Was Based
Exclusively on What Defendant Told Them; and the Jury Acquits Husel of All
Remaining Counts

      218.         On January 20, 2022, the Franklin County Prosecutor filed a

motion to dismiss eleven of the twenty-five murder charges. (See

https://www.10tv.com/article/news/investigations/10-investigates/mount-carmel-




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patient-overdose-deaths/husel-murder-counts-dropped/530-dddcf3f0-5719-40e6-

9ccc-0b7e8b6feadd).

      219. At the trial, the lead detective on the case, William Gillette, testified

that neither the police nor the prosecutor had any outside knowledge on whether

the dosages at issue may have been given for a purpose other than hastening death,

and claimed that all of key information came from Defendant. As the lead

detective for the Columbus Police testified on February 22, 2022:

      The State was able to get experts, and one of them was Dr. Roth, who works
      with Trinity, which is part of Mount Carmel, and he was able to go through
      and look at some of the charts and once they got everything, the medical
      records, and then they put together a list of victims that they wanted us
      looking into.

(Available at https://www.youtube.com/watch?v=KrLHeXfGwh0 (4:18:50)).

      220. The Prosecutor’s statements to the press along with the testimony of

Det. Gilette make clear that the element of probable cause with respect to both Dr.

Husel’s intent as well as the impact of his care was supplied by Dr. Roth and

Trinity, the entity that was seeking to procure Dr. Husel’s indictment.

      221. As such, the grand jury’s finding of probable cause to indict Dr. Husel

of each of the 25 counts of murder was based upon false information provided by

Trinity.

      222. On April 20, 2022, a Columbus jury acquitted Dr. Husel of all

charges.


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      223. A few weeks later, Husel voluntary relinquished his license to practice

medicine. Husel understood that, notwithstanding the acquittal, the reputation

damage he endured would prevent him from ever working as a doctor. As such, he

agreed with the Ohio Board of Medicine that he had failed to cooperate in their

investigation of him during the pendency of the criminal investigation and

prosecution by asserting his Fifth Amendment rights.

      224. Husel, through his counsel, agreed that although he was only

exercising a constitutional right under the 5th Amendment, doing so precluded him

from cooperating and violated administrative mandates that required him to do so

as a condition of his licensure.

      225. Since his acquittal, Dr. Husel has been diagnosed with post-traumatic

stress disorder and major depressive disorder. He has not been able to obtain

employment and has looked after his children while his wife works.

      226. Since the indictment, Dr. Husel has developed physical symptoms that

are not related to any injury or otherwise explainable including a loss of mobility

in one leg (resulting in a limp) and a loss of fine motor control in his hands, which

impacts his ability to write, eat, dress and conduct many of the other ordinary

activities of life without a struggle.

      227. He is receiving treatment for the trauma and trying to recover.




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 ADDITIONAL ALLEGATIONS BEYOND THE ORIGINAL COMPLAINT

      228. On March 28, 2024, the Court in the above matter dismissed the

original complaint in that action without prejudice, indicating that:

      While Dr. Husel’s complaint insinuates that false or misleading information
      was presented to the grand jury, it never explicitly states who, as in which
      Trinity staff member, presented the false or misleading testimony nor
      explains how that testimony was relevant to the indictment… Further, Dr.
      Husel makes no allegations that the grand jury proceedings were irregular.

      229. The grand jury proceedings were irregular because the grand jury was

presented with false or misleading testimony to satisfy the element of intent that

the grand jury was required to find in order to issue the indictments.

      230. Namely, upon information and belief, Dr. Daniel Roth, and/or

possibly other agents of Trinity, presented testimony to the grand jury that

explained, falsely, that the doses ordered by Dr. Husel were so high and out of the

ordinary that (a) they served no medical purpose; and (b) the only reason a medical

doctor could have ordered such doses is if they intended to kill the patient or hasten

that patients’ death; and (c) that the administration of 500 micrograms or more of

fentanyl to a patient in a single bolus dose would have been fatal.

      231. All three of these statements were false and misleading.

      232. The grand jury must have relied on these statements because no other

evidence that could have satisfied the element of intent was presented to the grand

jury (because no such evidence exists).



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       233. Plaintiff comes to this belief on the basis of (1) the numerous similar

false and misleading statements Dr. Roth and other agents of Trinity have made

outside of the Grand Jury; (2) the similar statement made by the Franklin County

Prosecutor to the press immediately after the grand jury returned the indictment;

and (3) recorded conversations between the Franklin County Prosecutor and agents

of Trinity that were produced to Plaintiff as “Brady” material in connection with

the unsuccessful prosecution.

       234. Several hours after this Court issued its Order dismissing the original

complaint, Plaintiff’s counsel reached out Trinity’s counsel and proposed that the

parties “enter a stipulated proposed order holding Husel’s right to amend in

abeyance so that he can seek disclosure of the grand jury minutes.”

       235. On March 29, 2024, Trinity rejected Plaintiff’s suggestion. As such,

copies of the grand jury minutes will be sought in discovery and can be evaluated

in connection with the summary judgment process. Until then, the parties and

Court must proceed under the presumption that the allegations of paragraph 230

are true.

                           SOLE CAUSE OF ACTION

                                Malicious Prosecution

       236. Plaintiff repeats and re-allege the allegations in the preceding

paragraphs as though fully set forth herein.


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      237. Trinity actively sought the indictment and prosecution of Dr. William

Husel by the Franklin County Prosecutor’s Office and provided knowingly

inaccurate and misleading information and knowingly withheld material relevant

information tending to prove no crime was committed to procure an indictment

against Dr. Husel.

      238. Trinity actively sought the indictment and prosecution of Dr. William

Husel by the Franklin County Prosecutor’s Office in order to support Trinity’s and

Mount Carmel’s public image as defenders of the “sanctity of live” and as

institutions that “do the right thing,” and direct public scorn at Dr. Husel in a

manner that would benefit their public image.

      239. Relying on Trinity as a reliable and impartial purveyor of medical

information, Franklin County Prosecutor’s Office presented the inaccurate

information, including incorrect medical opinions provided by Trinity, to a grand

jury and secured a 25-count murder indictment against Dr. Husel based on such

information.

      240. 11 of the 25 counts were voluntarily dismissed by the Franklin County

Prosecutor’s Office and Dr. Husel was acquitted of the remaining 14.

      241. Because the medical information provided by Trinity was baseless,

probable cause for the indictment was lacking.




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         242. Trinity’s primary purposes were to distract the public from its own

administrative failings and/or to support a restrictive/religiously based approach to

end-of-life medicine that is not consistent with accepted medical standards by

equating non-Catholic views on the “sanctity of life” with homicide.

         243. Trinity’s primary purpose was not to bring an offender to justice.

         244. Because of Trinity’s malicious (and successful) campaign to secure

Dr. Husel’s indictment, William Husel was gravely damaged, and has economic,

physiological and physical harm as a result of Trinity’s action above and beyond

any damages caused to him simply by Trinity’s defamation of him in the public

arena.




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                            PRAYER FOR RELIEF

      WHEREFORE, Plaintiff demands judgment as follows:

      A.    On the SOLE cause of action, such actual damages as Plaintiff may

      prove at trial but in an amount no less than $20,000,000 dollars in actual

      damages, plus treble damages and reasonable attorney’s fees (reduced by

      any amount he may obtain in connection with other litigation pending in the

      Franklin County (Ohio) Court of Common Pleas since 2019);

      B.    Any further and other relief the Court deems just and proper.


Dated: March 29, 2024
       New York, New York


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    38      February 7, 2019 Lighthouse Phase 2 Communication Plan
    39      Article in "Chest"
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    41      Lighthouse Process Overview and Script
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    53      January 6, 2019 Draft Letter
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            term "fatal" with B. Gallaway response indicating Trinity's desire to
    54      use it
    55      January 13, 2019 Handwritten Internal Meeting Notes
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